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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA                        •

                                       Alexandria Division
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UNITED STATES OF AMERICA
                                                              Criminal No. l:18-MJ-289
               V.



MARKARAMAN,                                                   UNDER SEAL


                       Defendant.


                                AFFIDAVIT IN SUPPORT OF A
                    CRIMINAL COMPLAINT AND ARREST WARRANT


       I, John Bamford, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND


        1.     I am a police officer with the Arlington County Police Department, which is

located in northern Virginia, and have been so employed for 10 years. Currently, I am assigned

as a Task Force Officer with the Federal Bureau of Investigation. In this role, I investigate

computer-related crimes. As such, I have participated in numerous investigations involving

computer and high technology related crimes including computer intrusions, online extortion,

online threats, internet fraud, credit card fraud, and bank fraud.

       2.      The facts and information contained in this Affidavit are based upon my training

and experience, participation in federal investigations, personal knowledge, and observations

during the course ofthis investigation, as well as the observations of other agents involved in this

investigation. All observations not personally made by me were related to me by the individuals

who made them or were conveyed to me through my review of records, documents, and other

physical evidence obtained during the course ofthis investigation. This Affidavit contains
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information necessary to support probable cause and is not intended to include each and every

fact and matter observed by me or known to the government.

       3.      This Affidavit is submitted in support ofa criminal complaint charging

MARKARA MAN with threatening to murder members ofthe immediate family ofa U.S.

official—^to wit, an individual who,at the time ofrelevant offense conduct, resided in Arlington,

Virginia, within the Eastern District of Virginia, and was the head of a federal agency in the

Executive Branch ofthe U.S. government(hereinafter,"Federal Official 1")—^with the intent to

intimidate and interfere with such official while engaged in the performance ofofficial duties,

and with intent to retaliate against such official on account ofthe performance ofofficial duties,

all in violation of Title 18, U.S. Code, Sections 115(a)(1)(A) and 1114. As set forth in greater

detail below, based on the investigation, there is probable cause to believe that on or about

December 20,2017, MAN sent an email to Federal Official 1 that threatened to kill Federal

Official 1's children, and did so with the intent to intimidate and interfere with Federal Official

1's performance of official duties and to retaliate against Federal Official 1 on account ofthe

performance of official duties.

                                      PROBABLE CAUSE


       4.      As explained below, between on or about December 19 and 20,2017, MAN sent

emails via STUBBLEMANLINESS@GMAIL.COM to email accounts belonging to Federal

Official 1. One ofthe emails expressly threatened the killing of Federal Official 1's children.

Read together, and as admitted by MAN,the threatening email was sent in response to an official

action that Federal Official 1 and other federal officials had taken on or about December 14,

2017, which resulted in the repeal ofparticular regulations (hereinafter, the "Official Action").
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A.     Background on Federal Official 1

       5.      I know from this investigation that Federal Official 1 is the head ofa federal

agency in the Executive Branch ofthe U.S. government, and held this position at the time ofthe

offense conduct discussed in this Affidavit. I also know that the aforementioned agency is

located in Washington, D.C.

       6.      Through this investigation, I also know that, at the times relevant to the offense

conduct discussed in this Affidavit, Federal Official 1 had two minor children and resided with

his children in Arlington, Virginia, which is within the Eastern District of Virginia.

B.     Emails Sent on or about December 19 and 20,2017

       7.      On or about December 19, 2017, at approximately 5:03 p.m. EST,an email was

sent from STUBBLEMANL1NESS@GMAIL.COM to Federal Official 1's government address.

The email, which had a subject line that read'T agree with you," included the following text:

               Two kids have killed themselves over [the Official Action] so far.

               Since you're the tiebreaker vote...

               *Stares hauntingly past you*

               *Slowly raises arm and points directly at you*

               Their blood is forever on your hands.

Beneath this text was an image of what appears to be a news article concerning a minor child

who allegedly had committed suicide because ofthe Official Action. An image of Federal

Official 1 eating popcom appeared to be superimposed over the news article.

       8.      The next day, on or about December 20, 2017, at approximately 3:47 p.m. EST,

an email was sent from STUBBLEMANLINESS@GMAIL.COM to Federal Official 1's

government and personal email addresses. The subject line ofthe email was "Cheers" and the
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body ofthe email listed the names and addresses ofthree preschools located in or around

Arlington, Virginia, followed by the following sentence: "I will find your children and I will kill

them."


         9.    I know that, at the time this email was sent. Federal Official 1 had at least one

preschool-aged child, and that it was possible to find this information via news articles and other

publically available sources. I also know that none ofFederal Official 1's children attended any

ofthe preschools listed in the email described above,

         10.   Shortly after the email described above was sent, at approximately 3:51 p.m. EST,

another email was sent from STUBBLEMANLINESS@GMAIL.COM to Federal Official 1's

government and personal email addresses. This email, which had a blank subject line and no text

in the body ofthe email, contained an image depicting Federal Official 1 in what appears an

interview style setting. Visible in the foregroimd ofthe image is a slightly out-of-focus, framed

photograph depicting Federal Official 1 with his wife and minor children.

C.       Google's Records Regarding STUBBLEMANLINESS@GMAIL.COM

         11.   Based on a review ofrecords provided by Google, it appears that Google did not

retain the Internet Protocol(IP) address that had been used to send the aforementioned emails to

Federal Official 1 via STUBBLEMANLINESS@GMAIL.COM. Google, however, did provide

the IP address utilized by the account during a different time period. Those records indicate that

STUBBLEMANLINESS@GMAIL.COM was utilized in connection with IP address

47.148.111.93 on or about December 31, 2017, at approximately 9:24:46 UTC.

         12.   Using an open source tool, I determined that IP address 47.148.111.93 is affiliated

with Frontier Communications. Records subsequently received from Frontier Communications

indicate that IP address 47.148.111.93 was assigned to an individual believed to be MAN'S
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father at a residence located in Norwalk, California, from on or about December 7, 2017, at

approximately 19:35:58 UTC,to on or about January 10, 2018, at approximately 9:50:47 UTC.

        13.    During the course ofthis investigation, I reviewed the contents of

STUBBLEMANLINESS@GMAIL.COM and related account data provided by Google, and did

not discover any evidence that would indicate that the email account was accessed without

authorization by another person in or around the times when the aforementioned emails were

sent.


D.      MAN'S Use and Ownership of STUBBLEMANLINESS@GMAIL.COM

        14.    A review of Google's records for STUBBLEMANLrNESS@GMAIL.COM also

provides reason to believe that MAN owns or controls the account.

        15.    As an initial matter, Google's records indicate that

STUBBLEMANLINESS@GMAIL.COM is associated with MARKARAMAN@GMAIL.COM.

This is so for at least two reasons:


               a.      First, I know from Google's records that

STUBBLEMANLINESS@GMAIL.COM was created on or about August 20,2012, and is

associated with the following recovery email address: MARKARAMAN@GMAIL.COM. I

know from my training and experience that users of a Google email account may associate a

recovery email address with their accounts so that they can regain access to their accounts in the

event they forget login information or otherwise lose access to their accounts. Because it

sometimes is possible to reestablish access to an email account via a recovery email address, in

my training and experience, it is extremely unlikely that a user would provide another person's

email address such that the user would not have control over the recovery address.
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                b.      Second, Google's records indicate that on December 31, 2017, at

approximately 09:24:46 UTC,STUBBLEMANLINESS@GMAIL.COM and

MARKARAMAN@GMAIL.COM were accessed at the same time via IP address 47.148.111.93.

        16.     In addition, there are at least two reasons to believe that

MARKARAMAN@GMAIL.COM is MAN'S email account:

                a.      First, records obtained from Facebook indicate that an account under the

vanity name "UncleMark.9" has three registered email addresses, one of which is

MARKARAMAN@GMAIL.COM. In addition, a comparison ofrecords provided by Facebook

and Google reveals that the telephone number associated with the UncleMark.9 Facebook

account also is listed as the Short Message Service(SMS)number for

STUBBLEMANLINESS@GMAIL.COM.

                b.      Second, during the course ofthe investigation, I learned that

MARKARAMAN@GMAIL.COM and the telephone munber discussed above in Paragraph

16(a) were provided to the U.S. government in connection with an application for a U.S. passport

in MAN'S name. A review ofthat passport application, which was signed by an individual

purporting to be MAN on or about August 24,2016, also indicates that MAN's residence at the

time ofthe application was a Norwalk, California residence, an address that corresponds to the

one associated with the Frontier Communications records discussed above.

        17.     I submit that the foregoing provides reason to believe that MAN owns or controls

MARKARAMAN@GMAIL.COM,and by extension STUBBLEMANLINESS@GMAIL.COM.

Such a conclusion also is consistent with my training and experience. I know that individuals

engaged in online criminal activities often will use multiple email addresses in an effort to hide

their true identities or locations.
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E.     Search of MAN's Residence and Interview of MAN on or about May 17,2018

       18.     On or about May 15,2018,the U.S. District Court for the Central District of

California issued a search warrant for the aforementioned Norwalk, California residence.

Federal law enforcement officers executed that warrant on or about May 17, 2018.

       19.     MAN was present at the time the search warrant was executed, and he agreed to

an interview during the course ofthe search warrant execution. Through this interview, which

was audio recorded, I learned, among other things, the following:

               a.      MAN acknowledged his ownership of

STUBBLEMANLINESS@GMAIL.COM and MARKARAMAN@GMAIL.COM. MAN stated

he had used STUBBLEMANLINESS@GMAIL.COM since in or around 2014.

               b.      MAN admitted sending the December 20,2017 email that threatened to

kill Federal Official 1's children, as discussed above. He stated that he transmitted the email via

his cellular phone while he was located at his residence in Norwalk, California. He also stated

that he used STUBBLEMANLINESS@GMAIL.COM to send the email to hide who he was and

because he thought the email handle sounded "tougher."

               c.      MAN stated that he was "angry" about the Official Action because "'they

pretty much ignored, like, 80 percent of comments...they ignored 'us,' and just didn't care."

Asked whether he sent the email in an effort to scare Federal Official 1, MAN responded,"pretty

much." MAN also was asked about his intent in sending an image to Federal Official 1 that

depicted Federal Official 1's children. MAN stated that he found the image via Google by using

the search query "[Federal Official 1] children," and that he sent the image "to scare [Federal

Official 1]." When asked if his purpose in scaring Federal Official 1 was to change Federal

Official 1's mind, MAN stated,"pretty much." MAN also was asked if, at the time of his
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conduct, he thought his plan would work, and he stated he "was not really thinking" and was

"just angry and frustrated."

                d.     MAN also admitted to possessing a "dox" of Federal Official 1, and

indicated that he believed he had saved the "dox" to his Google Keep account. I know from my

training and experience that the term "dox" is an abbreviation for documents and is derived from

"doxing," which is the practice ofresearching and publishing on the Internet an individual's

personal identifying information. I also know from my training and experience that Google

Keep is a note-taking service provided by Google that allows users to create notes, lists, and

reminders.


                e.     MAN further stated that the schools referenced in one of his December 20,

2017 emails were found via Google Maps.

       20.      MAN also provided law enforcement with a written apology letter. The letter

read: "Dear [Federal Official 1], I'm sorry I made a threat against your kids. That was crossing

the line. I hope you'll change your mind on [Official Action] but I doubt it. Best Regards, Mark

[signature]."
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                                         CONCLUSION


        21.    In sum,I submit that there is probable cause to believe that MARKARA MAN

did threaten to murder members ofthe immediate family ofthe head ofa federal agency in the

Executive Branch ofthe U.S. government with the intent to intimidate and interfere with such

official while engaged in the performance ofofficial duties, and with intent to retaliate against

such official on account ofthe performance ofofficial duties, all in violation of Title 18, U.S.

Code, Sections 115(a)(1)(A) and 1114.



                                                     Respectfully submitted,



                                                     John Bamford, Detective / Task Force Officer
                                                     Federal Bureau ofInvestigation

Subscribed and sworn to before me
on this^9 th day ofJune,2018.

—             /s/
Jnnn F, Anderson
                            lerson
UNITED STATES MAGISTRATE JUDGE
